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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §               Case No: 1:21-cv-04904
                                      §
vs.                                   §               PATENT CASE
                                      §
NIKON AMERICAS, INC.,                 §
                                      §
      Defendant.                      §
_____________________________________ §

                                          COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Complaint

against Nikon Americas, Inc. (“Defendant” and/or “Nikon”) for infringement of United States

Patent No. 9,300,723 (the “‘723 Patent”).

                                PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with an address of 1 East Broward

Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Delaware corporation with a principal

place of business at 1300 Walt Whitman Road, Melville, NY 11747-3064. On information and

belief, Defendant may be served through its registered agent, Corporation Service Company, 251

Little Falls Drive, Wilmington, DE 19808.
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        5.     This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        6.     Upon information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.     On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is a resident of this District. Alternatively, acts of infringement are

occurring in this District and Defendant has a regular and established place of business in this

District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.

        11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.    The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.    Defendant has infringed and continues to infringe one or more claims, including at

least Claim 1 of the ‘723 Patent by making, using, and/or selling media systems covered by one or

more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the Nikon
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Snapbridge system, associated software, hardware and/or apps, and any similar products

                                                                                                •
(“Product”). Defendant has infringed and continues to infringe the ‘723 Patent in violation of 35

U.S.C. § 271.

          14.     Regarding Claim 1, the Product is a media system. The Product includes a media

system (e.g., platform configured to allow a user to view a media file (e.g., camera photo) taken

by the Product’s camera by using a media terminal (e.g., smartphone) over a communication

network (e.g., Bluetooth network) through a communication link. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




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 Source: https:l/www.nikonusa.com/en/nikon-products/snapbridge-app.page


        15.        The Product includes at least one media terminal disposed in an accessible relation

to at least one interactive computer network. For example, the Bluetooth network is used for

sending camera photos by detecting a smartphone (at least one media terminal) when the Product’s

app is installed on the smartphone and connected with the Product’s camera through a Bluetooth

network (i.e., the smartphone is in an accessible relationship with the interactive computer

network). Certain aspects of this element are illustrated in the screenshots below and/or in those

provided in connection with other allegations herein.
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 Source: https://www.nikonusa.com/en/nikon-products/snapbridge-app.page


 As shown above, the Bluetooth network used for sending camera photos by detecting a Smartphone (at least one
 media terminal) when the SnapBridge App i nstalled in Smartphone and connected with Nikon's Camera through
 Bluetooth network (i.e. computer network).


           16.         A wireless range is structured to permit authorized access to the at least one

interactive computer network. For example, the Bluetooth signals of the Product’s camera have a

range within which the smartphone (media terminal) may connect. Certain aspects of this element

are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.
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 Source: https://www.youtube.com/watch?v=jVRnKhZYFPE
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 Source: https://www.nikonusa.com/en/nikon-products/snapbridge-app.page


           17.         At least one media node is disposable within the wireless range, wherein the at least

one media node is detectable by the at least one media terminal. For example, the Product’s camera

(media node) is detectable by the media terminal (smartphone). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.
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Source: https://www.youtube.com/watch?v=jVRnKhZYFPE


          18.   At least one digital media file is initially disposed on at least one of the at least one

media terminal or the at least one media node and the at least one media terminal is structured to

detect the at least one media node disposed within the wireless range. For example, the photo is

initially disposed on the media node (camera’s Bluetooth module) and the media terminal can

detect the Bluetooth module when it is within the appropriate range. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other allegations

herein.
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 Source: https:/twww.youtube.com/watch?y=jVRnKhZYfPE



          Your camera's bridge to your world.
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      Send photos 'rom                             Control your camera                                  Save photos to free
    camera to smartphone                           with your smartphone                               cloud storage on the go


Source: https://www.nikonusa.com/en/nikon-products/snapbridge-app.page
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        19.     A communication link is structured to dispose the at least one media terminal and

 the at least one media node in a communicative relation with one another via the at least one

 interactive computer network. For example, the smartphone and Bluetooth module are in a

 communicative relation over the Bluetooth network. Certain aspects of this element are illustrated

 in the screenshots below and/or those provided in connection with other allegations herein.




 Source: https://www.youtube.com/watch?v=iVRnKhZYFPE


        20.     The communication link is initiated by the at least one media terminal. For example,

 when the user turns on Bluetooth on the smartphone (media terminal), the smartphone initiates the

 communication link.

        21.     The at least one media node and the at least one media terminal are structured to

 transmit the at least one digital media file therebetween via the communication link. For example,

 the smartphone/app and the Bluetooth module of the Product’s camera are structured to transmit a

 photo from the camera to the smartphone over the wireless network.
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         22.     The communication link is structured to bypass at least one media terminal security

 measure for a limited permissible use of the communication link by the media node to only

 transferring the at least one digital media file to, and displaying the at least one digital media file

 on, the at least one media terminal. For example, once the camera and smartphone are connected,

 the communication link is structured so that whenever the user installs the Product’s app on the

 smartphone (media terminal), the smartphone automatically connects (bypassing any security

 measures) with the Product’s camera through Bluetooth code (i.e., media terminal security)

 whenever the smartphone comes to the range of the Bluetooth signals (for the limited purpose of

 transferring images form the camera to the smartphone).


  From camera to smartphone, automatica lly

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 Source: httpsJ/www.nikonusa.com/en/nikon-products/snapbridge-app.page


         23.     Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

         24.     Defendant’s actions complained of herein are causing irreparable harm and

 monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

 restrained by this Court.

         25.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                                                 JURY DEMAND

         26.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

 requests a trial by jury on all issues so triable.
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                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff asks the Court to:

           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

 herein;

           (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

 attorneys, and all persons in active concert or participation with Defendant who receive notice of

 the order from further infringement of United States Patent No. 9,300,723 (or, in the alternative,

 awarding Plaintiff running royalties from the time of judgment going forward);

           (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

 with 35 U.S.C. § 284;

           (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

           (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

 law or equity.
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 Dated: August 31, 2021.            Respectfully submitted,



                                    /s/ Jay Johnson
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